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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                        11/2/2020
R.N.,                                                     :
                                                          :
                                        Plaintiff,        :
                                                          :             20-cv-45 (VSB)
                      -against-                           :
                                                          :                ORDER
NEW YORK CITY DEPARTMENT OF                               :
EDUCATION,                                                :
                                                          :
                                        Defendant. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        I am in receipt of Defendant’s December 2, 2020 letter response, in which Defendant

represents that it consents to the proposed motion schedule at Doc. 18 and accordingly seeks to

withdraw its motion to stay at Doc. 15. (Doc. 20.) Defendant also represents that it is not

seeking relief from this Court regarding Plaintiff’s document production at this time. (Id.)

Accordingly, it is hereby:

        ORDERED that Plaintiff’s amended letter motion for an extension of time is GRANTED.

(Doc. 18.) Plaintiff’s motion for summary judgment shall be due on January 13, 2021,

Defendant’s opposition shall be due on February 21, 2021, and Plaintiff’s reply, if any, shall be

due on March 5, 2021.

        The Clerk is directed to terminate the open motions at Documents 15, 17, and 18.

SO ORDERED.

Dated: November 2, 2020
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
